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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA

 AIG SPECIALTY INSURANCE                  §   CIVIL ACTION NO. 6:21-CV-04191-RRS CBW
 COMPANY (f/k/a CHARTIS                   §
 SPECIALTY INSURANCE                      §             JUDGE ROBERT R SUMMERHAYS
 COMPANY)                                 §
                                          §
 VS.                                      §             MAGISTRATE CAROL B WHITEHURST
                                          §
 KNIGHT OIL TOOLS, INC.                   §
                                          §            (ORAL ARGUMENT REQUESTED)

                     PROPOSED INTERVENOR RIPPY OIL COMPANY’S
                         MOTION FOR LEAVE TO INTERVENE

 TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Pursuant to Federal Rule of Civil Procedure 24, Proposed Intervenor Rippy Oil Company

 (“Rippy Oil”) moves for leave to intervene in this case to file a Motion to Dismiss pursuant to

 Federal Rule of Civil Procedure 12(b)(1)(2)(3)(6) and (7) Federal Rule of Civil Procedure 19(a),

 (b) and (c); the Declaratory Judgment Act 28 U.S.C. § 2201(a); the Anti-Injunction Act, 28 U.S.C.

 § 2283; and Principles of Comity, Federalism, and Abstention. This Motion for Leave incorporates

 by reference the proposed Motion to Dismiss and supporting Exhibits 1 and 2 collectively filed

 with this Motion as Exhibit A. As grounds for intervention, Rippy Oil respectfully shows the

 Court as follows:

                                                  I.

                        INTRODUCTION AND BASIS FOR MOTION

 1.     Federal Rule of Civil Procedure 24 permits a party to voluntarily join a pending lawsuit by

 filing a Motion to Intervene. The Rule is intended to prevent multiple lawsuits when common

 questions of law or fact are involved. Deus v. Allstate Ins., 15 F.3d. 506, 525 (5th Cir. 1994).




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 2.     Proposed Intervenor Rippy Oil is a judgment creditor of Defendant Knight Oil Tools, Inc.

 (“KOT”), named insured of Plaintiff AIG Specialty Insurance Company formerly known as

 Chartis Specialty Insurance Company (“AIG”). After a fully adversarial jury trial defended by

 AIG, verdict, final Texas judgment that was affirmed on appeal by the Waco, Texas Court of

 Appeals, AIG filed this Declaratory Judgment Action seeking a judicial declaration against KOT

 that “[c]overage under the ASIC policy (Chartis Specialty Insurance Company policy No. BE

 1374599) is not triggered unless and until the limits of liability of the Scheduled Underlying

 Insurance and any other applicable Other Insurance (ACE American Insurance Company policy

 no. HDO G24940214) are exhausted by payment of Loss” and “[t]here is no coverage under the

 ASIC policy for Knight’s liability.” (DOC. #1, pp. 17-18).

 3.     AIG did not name the Scheduled Underlying Insurance carrier ACE American Insurance

 Company (“ACE”) as a necessary party to the declaratory judgment action. Nor did AIG sue

 another necessary party: proposed Intervenor Rippy Oil, third-party beneficiary under the ACE

 policy and a judgment creditor of ACE and AIG named insured Knight Oil Tools Inc. now known

 as Knight Oil Tools LLC, ( “Knight” or “KOT”). (DOC.#1, p.1).

 4.     Although in Texas a declaratory judgment does not prejudice the rights of persons who are

 not parties to the proceeding, a judgment creditor, like proposed Intervenor Rippy Oil injured by

 an insured like KOT, is viewed as a third-party beneficiary of the liability insurance policy issued

 by ACE and AIG to KOT. See State Farm County Mut. Ins. Co. v. Ollis, 768 S.W.2d 722, 723

 (Tex. 1989). On the other hand, under Texas law, a declaratory judgment action brought by an

 insurer like AIG will not be binding upon a third-party beneficiary to a liability insurance policy

 like proposed Intervenor Rippy Oil until that third-party beneficiary is properly joined as a party




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 to such action. Tex. Civ. Prac. & Rem. Code § 37.006(a); See also State Farm Fire & Cas. Co.

 v. Fullerton, 118 F.3d. 374, 384 (5th Cir. 1997).

 5.     Currently, there is no adverse dispute between AIG and KOT, as ACE and AIG defended

 KOT in the underlying Texas lawsuit brought by Rippy Oil against KOT, and AIG continues to

 prosecute appeal of a final judgment in favor of Rippy Oil against KOT to the Texas Supreme

 Court through attorneys retained by AIG to represent KOT. AIG’s Complaint contains no factual

 allegations of misconduct of KOT as a basis to deny coverage nor does it remotely suggest AIG

 intends to withdraw from KOT’s defense. (Doc #1, pp. 1-18). Indeed, just the opposite is true as

 AIG directed the filing of a Petition for Review in the Texas Supreme Court after filing this

 Declaratory Judgement Action. (See Unopposed Motion for Extension of time to file Petition for

 Review in Supreme Court of Texas, No 21-1115, styled Knight Oil Tools Inc. v. Rippy Oil

 Company, et al).

 6.     Moreover, there is no possible injury to KOT who has emerged from Chapter 11

 Bankruptcy. KOT’s Joint Chapter Plan of Reorganization of November 29, 2017 was confirmed

 December 1, 2017 and the bankruptcy proceeding terminated on June 17, 2019. The Order lifting

 stay in the bankruptcy court specifically allowed Plaintiff Rippy Oil to seek recovery on the claims

 asserted in the underlying lawsuit solely from applicable insurance policies of Defendant KOT and

 the other non-debtor defendants. The Order further set forth that Defendant KOT's liability in the

 underlying lawsuit and for any claims or causes of action that were or could have been raised in

 that lawsuit, shall be limited to the extent of any coverage provided by Defendant KOT's applicable

 insurance policies. (Doc #1, Exhibit C). On information and belief, AIG did not file a claim for

 relief in the KOT bankruptcy proceeding or otherwise seek permission from the bankruptcy court

 to pursue this Declaratory Judgement action against KOT.



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 7.     Accordingly, proposed Intervenor Rippy Oil as judgment creditor of KOT and third-party

 beneficiary under the policies issued by ACE and AIG, seeks to intervene to assert a Motion to

 Dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1) (2)(3)(6) and (7) and Federal Rule

 of Civil Procedure 19(a), (b)and (c); the Declaratory Judgment Act, 28 U.S.C. §2201(a); the Anti-

 Injunction Act, 28 U.S.C. §2283; and principles of comity, federalism, and abstention in favor of

 prior pending parallel Texas litigation that will determine the coverage dispute between the real

 party in interest proposed Intervenor Rippy Oil and ACE and AIG.

                                                 II.

                               ARGUMENT AND AUTHORITIES

 8.     Rippy Oil seeks to intervene in this lawsuit permissively pursuant to Federal Rule of Civil

 Procedure 24(b). As established below, intervention is proper.

 9.     Rule 24(b) states in pertinent part that “on timely motion, the court may permit anyone to

 intervene who … (b) has a claim or defense that shares with the main action a common question

 of law or fact.” Fed. R. Civ. P. 24(b)(1).

 10.    Permissive intervenors must show: (1) an independent ground for subject matter

 jurisdiction, (2) a timely motion, and (3) a claim or defense that has a question of law or fact in

 common with the main action. In re Enron Corp. Sec., Derivative & “ERISA” litig., 229 F.R.D.

 126, 130 (S.D.—Tex. 2005). These requirements are met in this case.

 11.    First, Rippy Oil has an independent ground for subject matter jurisdiction under 28 U.S.C.

 § 1332(a)(1). Rippy Oil is a Texas Corporation with its principal place of business in Tyler, Smith

 County, Texas. Defendant Knight Oil Tools, Inc. now known as Knight Oil Tools, LLC (“KOT”)

 filed Chapter 11 bankruptcy during the pendency of Rippy Oil’s Texas state court litigation against

 KOT. KOT’s Joint Chapter 11 of Reorganization as of November 29, 2017 was confirmed



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 December 1, 2015. KOT was discharged from bankruptcy and the bankruptcy proceeding

 terminated on June 17, 2019. Since emerging from bankruptcy, KOT, which is organized under

 the laws of Louisiana merged with Irongate Energy Services, LLC and now does business as

 Knight Energy Service, LLC, a limited liability company organized under the laws of Delaware

 with its principal place of business in Houston, Harris County, Texas. AIG is incorporated in the

 state of Illinois with its principal place of business in the state of New York. Accordingly, this

 Court has jurisdiction over the lawsuit under 28 U.S.C. § 1332(a)(1) because KOT and Intervenor

 Rippy Oil are citizens of different states than AIG and the amount in controversy exceeds

 $75,000.00, exclusive of interests and costs.

 12.    Second, Rippy Oil’s Motion is timely in no party will suffer prejudice as the result of Rippy

 Oil’s intervention in the instant lawsuit. The timeliness of a Motion to Intervene requires

 consideration of four factors:

        1)      The length of time during which the would-be intervenor actually knew, or
                reasonably should have known of its interest in the case before it petitioned for
                leave to intervene;

        2)      The extent of the prejudice that the existing parties to the litigation may suffer as a
                result of the would-be intervenor’s failure to reply for intervention as soon as it
                knew or reasonably should have known of its interest in the case;

        3)      The extent of the prejudice that the would-be intervenor may suffer if intervention
                is denied; and

        4)      The existence of unusual circumstances militating either for or against a
                determination that the application is timely.

 Sierra Club v. Espy, 18 F.3d 1202, 1205 (5th Cir. 1994).

 13.    The timeliness analysis is contextual and absolute measures of timeliness should be

 ignored. Sierra Club v. Espy, 18 F.3d 1202, 1205 (5th Cir. 1994) (“the requirement of timeliness

 is not a tool of retribution to punish the tardy would-be intervenor, but rather a guard against



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 prejudicing the original parties by the failure to apply sooner.”) Here, AIG filed its complaint on

 December 7, 2021. Defendant KOT has not been served with citation and has not otherwise made

 an appearance.

 14.     Therefore, under the Fifth Circuit’s timeliness standard for intervening, AIG will not suffer

 any prejudice as a result of Rippy Oil’s intervention, as the timeliness factor is concerned only

 with the prejudice caused by proposed intervenor’s delay, not the prejudice which may result if

 intervention is allowed. Ross v. Marshall, 426 F.3d. 745, 755 (5th Cir. 2005).

 15.     On the other hand, the prejudice to proposed Intervenor Rippy Oil could be high if Rippy

 Oil is not allowed to intervene. Proposed Intervenor Rippy Oil has an economic stake in the

 outcome of any coverage determination involving the ACE and AIG policies of insurance, not

 only as a third-party beneficiary under those policies, but also as a judgment creditor of KOT who,

 according to the Order lifting the bankruptcy stay, is entitled to satisfy its final judgment against

 the proceeds of those policies. Thus, to protect its economic stake in the outcome of any coverage

 determination regarding the ACE and AIG policies, proposed Intervenor Rippy Oil should be a

 party to that action.

 16.     The next step in the permissive intervention analysis is whether proposed Intervenor Rippy

 Oil possesses “a claim … that shares with the main action a common question of law or fact.”

 Fed. R. Civ. P. 24(b)(1)(B).   In its capacity as a judgment creditor of KOT and third-party

 beneficiary under the ACE and AIG policies, proposed Intervenor Rippy Oil’s claim for coverage

 under the ACE and AIG policies issued to KOT, share identical questions of both law and fact to

 the instant action brought by AIG against KOT seeking a declaration of no coverage for the

 judgment in favor of proposed Intervenor against Rippy Oil.




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 17.    As set forth in Exhibits 1 and 2 to proposed Intervenor’s Motion to Dismiss Complaint for

 Declaratory Judgment, the same facts in the underlying lawsuit by Rippy Oil against KOT that

 resulted in the Final Judgment and proposed Intervenor Rippy Oil’s judgment creditor status

 against KOT will determine ACE and AIG’s coverage obligations to pay that final judgment.

 Likewise, the exact same Texas legal standard and Texas law will be employed in determining

 ACE and AIG’s coverage obligations to KOT and to pay the Texas final judgment in favor of

 proposed Intervenor Rippy Oil. There is no difference whatsoever. By allowing Rippy Oil’s

 intervention, the purpose of Rule 24 will be fulfilled in that it will allow proposed Intervenor Rippy

 Oil to prosecute appropriate Federal Rule of Civil Procedure 12(b) Motions to Dismiss the incident

 action in favor of previously filed parallel Texas State Court actions seeking post-judgment

 turnover of KOT’s claims and causes of action against ACE and AIG as null as coverage for the

 Texas final judgment in favor of Rippy Oil from the ACE and AIG policy records and thereby

 avoiding multiple suits that involve common questions of law or fact involving ACE and AIG’s

 policies’ coverage for payment of the final judgment.

 18.    Importantly, judicial efficiency requires allowing proposed Intervenor Rippy Oil to

 intervene in the instant suit. It only makes logical sense to allow the third-party beneficiary of the

 ACE and AIG policies and judgment creditor of KOT who pursuant to the Order Lifting

 Bankruptcy Stay is entitled to satisfy its final judgment against the ACE and AIG policies to

 intervene to assert the Rule 12(b) Motions. Otherwise, contesting AIG’s attempt to deny coverage

 under the policies will be left entirely to Defendant KOT, who after emerging from bankruptcy,

 has absolutely no apparent incentive to vigorously contest AIG’s wrongful attempts to deny of

 coverage.




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 19.    Indeed, it is unknown at this point whether KOT intends to vigorously defend AIG’s

 allegations as KOT has not been served in the AIG initiated Declaratory Judgment Action pending

 before this Court. Likewise, it is further unknown at this time, but will be the subject of discovery,

 whether KOT has entered into a fraudulent and collusive agreement or understanding with AIG to

 buy back the policy or otherwise, to lay down and not vigorously defend the AIG Declaratory

 Judgment Action in an effort to prevent proposed Intervenor Rippy Oil from satisfying the final

 judgment from the ACE and AIG policies’ proceeds. To prevent any fraudulent or collusive

 agreement between KOT and AIG, proposed Intervenor Rippy Oil intends to pursue a post-

 judgment Application for Turnover Order pursuant to Section 32.001 of the Texas Civil Practice

 and Remedies Code in the 278th Judicial District Court of Leon County, Texas where the final

 judgment was entered. (See Exhibit 1 to Intervenor Rippy Oil Company’s Motion to Dismiss

 Complaint for Declaratory Judgment).

                                                  III.

                                  CONCLUSION AND PRAYER

 20.    In short, proposed Intervenor Rippy Oil seeks to intervene in this case because failure to

 allow their intervention will potentially prejudice Rippy Oil in its ability to satisfy its Texas final

 judgment against KOT following Texas litigation from the proceeds of the ACE and AIG policies

 covering KOT risks in Texas. Proposed Intervenor Rippy Oil’s intervention is timely and will not

 cause prejudice to AIG. For these reasons, proposed Intervenor Rippy Oil respectfully requests

 that its Motion to Intervene pursuant to Federal Rule of Civil Procedure 24(b) be granted and that

 proposed Intervenor Rippy Oil be granted such other and further relief to which proposed

 Intervenor Rippy Oil may be entitled.




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                                    Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was filed electronically with the Clerk of Court

  using the CM/ECF system. Notice of this filing will be sent to all counsel of record via the Court’s

  electronic filing system.

         Lafayette, Louisiana, this 7th day of January, 2022.


                                                /s/ James H. Gibson
                                                JAMES H. GIBSON




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